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                         UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA


UNITED STATES OF AMERICA,                             CRIMINAL NO. 11-78 (JNE/JSM)

      Plaintiff,

v.                                                                              ORDER

2) RIGOBERTO BUSTO-MAGARAN,
6) JOSE HERNANDEZ-BUSTOS, and
7) LUIS A. MENDOZA-CABRERA,

      Defendants.


      The above-entitled matter comes before the Court upon the Report and

Recommendation of United States Magistrate Judge Janie S. Mayeron dated

September 27, 2010.        No objections have been filed to that Report and

Recommendation in the time period permitted.

      Based upon the Report and Recommendation of the Magistrate Judge, and all of

the files, records and proceedings herein, IT IS HEREBY ORDERED that:

      1.      Defendant Luis A. Mendoza-Cabrera’s Motion to Suppress Evidence as a

Result of Electronic Surveillance [Docket No. 110] is DENIED;

      2.      Defendant Rigoberto Busto-Magaran’s Pretrial Motion to Dismiss Count 1

[Docket No. 135] is DENIED WITHOUT PREJUDICE; and

      3.      Defendant Jose Hernandez-Bustos’s Motion to Suppress Contents of

Intercepted Wire and Oral Communications [Docket No. 193] is DENIED.



Dated: 6-29-2011                        s/ Joan N. Ericksen
                                        JOAN N. ERICKSEN
                                        United States District Judge
